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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiffs,                             4:17CR3085

     vs.
                                                           ORDER
PATRICIA SALVADOR-MAGANA,

                 Defendants.


     IT IS ORDERED:

     1)    Defendant’s motion to modify the conditions of her release, (Filing No.
           34), is granted.

     2)    Defendant is permitted to stay at home with her children rather
           than work.

     3)    In all other respects, Defendant’s conditions of pretrial release
           remain the same.

     November 17, 2017.
                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
